                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                 DOCKET NO. 3:16cr161-FDW

UNITED STATES OF AMERICA                            )
                                                    )         ORDER TO DISMISS
       v.                                           )        FORFEITURE AND TO
                                                    )      VACATE FORFEITURE ORDER
(1) MONIOCO URAGA ARANZUBIA                         )


       THIS MATTER is before the Court on the United States of America’s Motion (Doc. No.

99) requesting that the Court vacate the second Consent Order and Judgment of Forfeiture (Doc.

91) filed herein on April 24, 2017.

       In support of granting the Motion, the Court FINDS AS FOLLOWS.           The Government

requested that the Court enter the second Consent Order to ensure that Defendant forfeited certain

property if he did not timely pay the $100,000 money judgment set forth in the first Consent Order

(Doc. 63). Defendant has now timely paid in-full the first Consent Order. Therefore, per the

agreement of the parties as set forth in the second Consent Order, the second Consent Order is now

unnecessary and moot.

       IT IS, THEREFORE, ORDERED that the second Consent Order (Doc. 91) is hereby

VACATED.
                                               Signed: June 1, 2017




   Case 3:16-cr-00161-FDW-DCK             Document 100         Filed 06/01/17    Page 1 of 1
